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 5   Ted Entertainment, Inc.
 6

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 8
                         UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
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11
     TED ENTERTAINMENT, INC., a                 Case No.: 2:25-cv-5564
12   California Corporation,
13                      Plaintiffs,             NOTICE OF LODGING OF FLASH
                                                DRIVE CONTAINING VIDEO
14                                              EXHIBITS TO COMPLAINT
           v.
15
     ALEXANDRA MARWA SABER
16   f/k/a MARWA TALATT
     ABDELMONEM p/k/a DENIMS, an
17   individual, and DOES 1-10
18                     Defendants.
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          NOTICE OF LODGING OF FLASH DRIVE CONTAINING VIDEO EXHIBITS TO COMPLAINT
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 1         TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF
 2   RECORD:
 3         PLEASE TAKE NOTICE that plaintiff Ted Entertainment, Inc. (“TEI”)
 4   herby lodges with the Court the following materials in conjunction with its
 5   Complaint against defendants Alexandra Marwa Saber f/k/a Marwa Talatt
 6   Abdelmonem p/k/a Denims (“Denims”) and Does 1-10.
 7          1.    A flash drive containing the following exhibits to the Complaint:
 8               a. Exhibit D: The deposit copy of TEI’s copyrighted work entitled
 9                  Content Nuke: Hasan Piker
10               b. Exhibit E: The broadcast copy of TEI’s copyrighted work entitled
11                  Content Nuke: Hasan Piker
12               c. Exhibit F: The deposit copy of TEI’s copyrighted work entitled The
13                  H3 Show #105: Countdown to Doomsday
14               d. Exhibit J: Part 1 of Denims’ January 31, 2025 broadcast.
15               e. Exhibit K: Part 2 of Denims’ January 31, 2025 broadcast.
16               f. Exhibit L: Clip from Denims’ February 1, 2025 broadcast.
17          PLEASE TAKE FURTHER NOTICE that the flash drive identical to that
18   described is being served on Denims.
19        Dated: June 19, 2025                     HEAH BAR-NISSIM LLP
20
                                              By /s/ Rom Bar-Nissim
21                                               ROM BAR-NISSIM
                                                 Attorneys for Plaintiff Ted
22                                               Entertainment, Inc.
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           NOTICE OF LODGING OF FLASH DRIVE CONTAINING VIDEO EXHIBITS TO COMPLAINT
